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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
RASUL MUHAMMAD, on behalf of himself and :
all others similarly situated,                                         :
                                                                       :
                               Plaintiffs,                             :
                                                                       :
                               v.                                      :   CLASS ACTION COMPLAINT
                                                                       :      FOR INJUNCTIVE AND
BIJORA, INC.,                                                          :     DECLARATORY RELIEF
                                                                       :
                              Defendant.                               :
                                                                       :
                                                                       :
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                                                    INTRODUCTION
1.        Plaintiff RASUL MUHAMMAD (“Plaintiff”), on behalf of himself and others similarly

          situated, asserts the following claims against Defendant BIJORA, INC. (“Defendant” or

          “BIJORA”) as follows.

2.        Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the

          United States are visually impaired, including 2.1 million who are blind, and according to

          the American Foundation for the Blind’s 2016 report, approximately 260,000 visually

          impaired persons live in the State of Illinois.

3.        “Being unable to access website puts individuals at a great disadvantage in today’s society,

          which is driven by a dynamic electronic marketplace and unprecedented access to

          information.” U.S. Dep’t of Justice, Statement of Eve L. Hill before the Senate Comm. on

          Health, Educ., Labor & Pensions, at 3 (May 14, 2013).

4.        Plaintiff is a blind, visually-impaired handicapped person and a member of a protected

          class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and the regulations

          implementing the ADA set forth at 28 CFR §§ 36.101 et seq.



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5.    Plaintiff requires screen-reading software to read website content using his computer.

      Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with visual

      impairments who meet the legal definition of blindness in that they have a visual acuity

      with correction of less than or equal to 20 x 200.

6.    Plaintiff brings this civil rights action against Defendant to enforce Title III of the

      Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires,

      among other things, that a public accommodation (1) not deny persons with disabilities the

      benefits of its services, facilities, privileges and advantages; (2) provide such persons with

      benefits that are equal to those provided to nondisabled persons; (3) provide auxiliary aids

      and services—including electronic services for use with a computer screen reading

      program—where necessary to ensure effective communication with individuals with a

      visual disability, and to ensure that such persons are not excluded, denied services,

      segregated or otherwise treated differently than sighted individuals; and (4) utilize

      administrative methods, practices, and policies that provide persons with disabilities equal

      access to online content.

7.    By failing to make its Website available in a manner compatible with computer screen

      reader programs, BIJORA, a public accommodation subject to Title III, deprives blind and

      visually-impaired individuals the benefits of its online goods, content, and services—all

      benefits it affords nondisabled individuals—thereby increasing the sense of isolation and

      stigma among these Americans that Title III was meant to redress.

8.    Upon information and belief, because BIJORA’s Website has never been accessible and

      because BIJORA does not have, and has never had, an adequate corporate policy that is




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      reasonably calculated to cause its Website to become and remain accessible, Plaintiff

      invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring:

             a. that BIJORA retain a qualified consultant acceptable to Plaintiff (“Mutually
                Agreed Upon Consultant”) who shall assist it in improving the accessibility of
                its Website so the goods and services on them may be equally accessed and
                enjoyed by individuals with vision related disabilities;

             b. that BIJORA work with the Mutually Agreed Upon Consultant to ensure that
                all employees involved in website development and content development be
                given web accessibility training on a periodic basis, including onsite training to
                create accessible content at the design and development stages;

             c. that BIJORA work with the Mutually Agreed Upon Consultant to perform an
                automated accessibility audit on a periodic basis to evaluate whether BIJORA’s
                Website may be equally accessed and enjoyed by individuals with vision related
                disabilities on an ongoing basis;

             d. that BIJORA work with the Mutually Agreed Upon Consultant to perform end-
                user accessibility/usability testing on a periodic basis with said testing to be
                performed by individuals with various disabilities to evaluate whether
                BIJORA’s Website may be equally accessed and enjoyed by individuals with
                vision related disabilities on an ongoing basis;

             e. that BIJORA work with the Mutually Agreed Upon Consultant to create an
                accessibility policy that will be posted on its Website, along with an e-mail
                address and tollfree phone number to report accessibility-related problems; and

             f. that Plaintiff, their counsel and its experts monitor Defendant’s Website for up
                to two years after the Mutually Agreed Upon Consultant validates it is free of
                accessibility errors/violations to ensure BIJORA has adopted and implemented
                adequate accessibility policies.

9.    Web-based technologies have features and content that are modified on a daily, and

      in some instances, an hourly, basis, and a one time “fix” to an inaccessible website will not

      cause the website to remain accessible without a corresponding change in corporate

      policies related to those web-based technologies. To evaluate whether an inaccessible

      website has been rendered accessible, and whether corporate policies related to web-based

      technologies have been changed in a meaningful manner that will cause the website to




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       remain accessible, the website must be reviewed on a periodic basis using both automated

       accessibility screening tools and end user testing by disabled individuals.

                                 JURISDICTION AND VENUE

10.    This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42

       U.S.C. § 12188.

11.    BIJORA purposefully targets and otherwise solicits business from Illinois residents

       through its Website. Because of this targeting, it is not unusual for BIJORA to conduct

       business with Illinois residents. In fact, the opposite is true: BIJORA clearly does business

       over the Internet with Illinois residents, having entered into contracts with Illinois residents

       that involve the knowing and repeated transmission of computer files over the Internet. See

       Gniewkowski v. Lettuce Entertain You, Order, ECF No. 123 (W.D. Pa Apr. 25, 2017)

       clarified by Order of Court, ECF No. 169 (W.D. Pa. June 22, 2017) (Judge Schwab) (The

       court exercised personal jurisdiction over an out-of-forum defendant for claims its website

       is inaccessible to a visually disabled resident of the forum state.); see also Access Now Inc.

       v. Otter Products, LLC, Case No. 1:17-cv-10967-PBS (D.Mass. Dec. 4, 2017) (exercising

       personal jurisdiction over forum-based plaintiff’s website accessibility claims against out-

       of-forum website operator).

12.    Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the judicial

       district in which a substantial part of the acts and omissions giving rise to Plaintiff claims

       occurred.

13.    This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201 and

       2202.

                                             PARTIES
14.    Plaintiff, at all relevant times, is and was a resident of Chicago, Illinois.


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15.    Defendant is and was at all relevant times an Illinois Corporation doing business in

       Chicago, including its location at 1539 East 53rd Street, Chicago, IL 60615.

16.    Defendant’s physical location, its Website and the goods and services offered thereupon,

       is a public accommodation within the definition of Title III of the ADA, 42 U.S.C. §

       12181(7).

                                   NATURE OF ACTION
17.    The Internet has become a significant source of information, a portal, and a tool for

       conducting business, doing everyday activities such as shopping, learning, banking,

       researching, as well as many other activities for sighted, blind and visually-impaired

       persons alike.

18.    In today’s tech-savvy world, blind and visually impaired people have the ability to access

       website using keyboards in conjunction with screen access software that vocalizes the

       visual information found on a computer screen or displays the content on a refreshable

       Braille display. This technology is known as screen-reading software. Screen-reading

       software is currently the only method a blind or visually-impaired person may

       independently access the internet. Unless website are designed to be read by screen-reading

       software, blind and visually-impaired persons are unable to fully access website, and the

       information, products, goods and contained thereon.

19.    Blind and visually-impaired users of Windows operating system-enabled computers and

       devices have several screen reading software programs available to them. Some of these

       programs are available for purchase and other programs are available without the user

       having to purchase the program separately. Job Access With Speech, otherwise known as

       “JAWS” is currently the most popular, separately purchased and downloaded screen-




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       reading software program available for a Windows computer. Another popular screen-

       reading software program is NonVisual Desktop Access “NVDA.” Plaintiff uses NVDA.

20.    For screen-reading software to function, the information on a website must be capable of

       being rendered into text. If the website content is not capable of being rendered into text,

       the visually-impaired user is unable to access the same content available to sighted users.

21.    The international website standards organization, the World Wide Web Consortium,

       known throughout the world as W3C, has published version 2.1 of the Web Content

       Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for

       making website accessible to blind and visually-impaired people. These guidelines are

       universally followed by most large business entities and government agencies to ensure

       their website are accessible.

                                   STATEMENT OF FACTS
22.    Defendant is a clothing retailer that owns and operates its Website, www.shopakira.com,

       offering features which should allow all consumers to access the goods and services which

       it offers throughout the United States, including Illinois.

23.    Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

       without the assistance of screen-reading software. Plaintiff is, however, a proficient NVDA

       screen-reader user and uses it to access the Internet.

24.    Plaintiff has attempted to use Defendant’s Website at least once in the past. Unfortunately,

       because of BIJORA’s failure to build its Website in a manner that is compatible with screen

       reader programs, he is unable to understand, and thus is denied the benefit of, much of the

       content and services he wishes to access or use. For example:

              a. Many features on the Website lacks alt. text, which is the invisible code

                  embedded beneath a graphical image.


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              b. Many features on the Website also fail to Add a label element or title attribute

                  for each field. This is a problem for the visually impaired because the screen

                  reader fails to communicate the purpose of the page element. It also leads to the

                  user not being able to understand what he or she is expected to insert into the

                  subject field.

              c. The Website also contains a host of broken links, which is a hyperlink to a non-

                  existent or empty webpage. For the visually impaired this is especially

                  paralyzing due to the inability to navigate or otherwise determine where one is

                  on the website once a broken link is encountered.

25.    As a result of visiting Defendant’s Website and from investigations performed on his

       behalf, Plaintiff is aware the Website include at least the following additional barriers

       blocking his full and equal use:

              a. The Website does not provide a text equivalent for every non-text element;

              b. The purpose of each link cannot be determined from the link text alone or from

                  the link text and its programmatically determined link context;

              c. Web pages lack titles that describe their topic or purpose;

              d. Headings and labels do not describe topic or purpose;

              e. Keyboard user interfaces lack a mode of operation where the keyboard focus

                  indicator is visible;

              f. The default human language of each web page cannot be programmatically

                  determined;

              g. The human language of each passage or phrase in the content cannot be

                  programmatically determined;




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              h. Labels or instructions are not always provided when content requires user input;

              i. Text cannot be resized up to 200 percent without assistive technology so that it

                  may still be viewed without loss of content or functionality;

              j. A mechanism is not always available to bypass blocks of content that are

                  repeated on multiple web pages;

              k. A correct reading sequence is not provided on pages where the sequence in

                  which content is presented affects its meaning;

              l. In content implemented using markup languages, elements do not always have

                  complete start and end tags, are not nested according to their specifications,

                  may contain duplicate attributes, and IDs are not always unique; and

              m. The name and role of all UI elements cannot be programmatically determined;

                  things that can be set by the user cannot be programmatically set; and/or

                  notification of changes to these items is not available to user agents, including

                  assistive technology.

26.    These barriers, and others, deny Plaintiff full and equal access to all of the services the

       Website offers, and now deter him from attempting to use the Website and/or visit

       BIJORA. Still, Plaintiff would like to, and intends to, attempt to access Defendant’s

       Website in the future to research the services the Website offers, or to test the Website for

       compliance with the ADA.

27.    Due to Defendant’s failure and refusal to remove access barriers to its website, Plaintiff

       and visually-impaired persons have been and are still being denied equal access to

       Defendant’s Website, and the numerous goods and services and benefits offered to the

       public through the Website.




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28.    Through his attempts to use the Website, Plaintiff has actual knowledge of the access

       barriers that make these services inaccessible and independently unusable by blind and

       visually-impaired people.

29.    Though BIJORA may have centralized policies regarding the maintenance and operation

       of its Website, upon and information and belief, BIJORA has never had a plan or policy

       that is reasonably calculated to make its Website fully accessible to, and independently

       usable by, individuals with vision related disabilities. As a result, the complained of access

       barriers are permanent in nature and likely to persist.

30.    The law requires that BIJORA reasonably accommodate Plaintiff’s disabilities by

       removing these existing access barriers. Removal of the barriers identified above is readily

       achievable and may be carried out without much difficulty or expense.

31.    Plaintiff’s above request for injunctive relief is consistent with the work performed by the

       United States Department of Justice, Department of Transportation, and U.S. Architectural

       and Transportation Barriers Compliance Board (the “Access Board”), all of whom have

       relied upon or mandated that the public-facing pages of website complies with an

       international compliance standard known as Web Content Accessibility Guidelines version

       2.1 AA (“WCAG 2.1 AA”), which is published by an independent third party known as

       the Worldwide Web Consortium (“W3C”).

32.    Plaintiff and the Class have been, and in the absence of an injunction will continue to be,

       injured by Defendant’s failure to provide its online content and services in a manner that

       is compatible with screen reader technology.




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33.     BIJORA has long known that screen reader technology is necessary for individuals with

        visual disabilities to access its online content and services, and that it is legally responsible

        for providing the same in a manner that is compatible with these auxiliary aids.

34.     Indeed, the Disability Rights Section of the DOJ reaffirmed in a 2015 Statement of Interest

        before the United States District Court for the District of Massachusetts that it has been a

        “longstanding position” of the Department of Justice “that the ADA applies to website of

        public accommodations.” See National Association of the Deaf v. Massachusetts Institute

        of Technology, No. 3:15-cv-300024-MGM, DOJ Statement of Interest in Opp. To Motion

        to Dismiss or Stay, Doc. 34, p. 4 (D. Mass. Jun. 25, 2015) (“MIT Statement of Interest”);

        see also National Association of the Deaf. v. Harvard University, No. 3:15-cv-30023-

        MGM, DOJ Statement of Interest of the United States of America, Doc. 33, p.4 (D. Mass.

        Jun. 25, 2015) (“Harvard Statement of Interest”).

35.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this action. In

        relevant part, the ADA requires:

        In the case of violations of . . . this title, injunctive relief shall include an order to alter
        facilities to make such facilities readily accessible to and usable by individuals with
        disabilities . . . Where appropriate, injunctive relief shall also include requiring the . . .
        modification of a policy . . .

42 U.S.C. § 12188(a)(2).

36.     There is no DOJ administrative proceeding that could provide Plaintiff with Title III

        injunctive relief.

37.     While DOJ has rulemaking authority and can bring enforcement actions in court, Congress

        has not authorized it to provide an adjudicative administrative process to provide Plaintiff

        with relief.




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38.     Plaintiff alleges violations of existing and longstanding statutory and regulatory

        requirements to provide auxiliary aids or services necessary to ensure effective

        communication, and courts routinely decide these types of matters.

39.     Resolution of Plaintiff’s claims does not require the Court to unravel intricate, technical

        facts, but rather involves consideration of facts within the conventional competence of the

        courts, e.g. (a) whether BIJORA offers content and services on its Website, and (b) whether

        Plaintiff can access the content and services.

40.     Without injunctive relief, Plaintiff and other visually-impaired consumers will continue to

        be unable to independently use the Website, violating their rights.

                               CLASS ACTION ALLEGATIONS
41.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a nationwide

        class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the United

        States who have attempted to access Defendant’s Website and as a result have been denied

        access to the equal enjoyment of goods and services, during the relevant statutory period.

42.     Common questions of law and fact exist amongst Class, including:

                a.      Whether Defendant’s Website is a “public accommodation” under

                the ADA;

                b.      Whether Defendant’s Website denies the full and equal enjoyment

                of its products, services, facilities, privileges, advantages, or accommodations to

                people with visual disabilities, violating the ADA.

43.     Plaintiff’s claims are typical of the Class. The Class, like Plaintiff, are visually impaired or

        otherwise blind, and claim that Defendant has violated the ADA by failing to remove

        access barriers on its Website so as to be independently accessible to the Class.




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44.     Plaintiff will fairly and adequately represent and protect the interests of the Class Members

        because Plaintiff has retained and is represented by counsel competent and experienced in

        complex class action litigation, and because Plaintiff has no interests antagonistic to the

        Class Members.

45.     Class certification of the claims is appropriate under Fed. R. Civ. P. 23(b)(2) because

        Defendant has acted or refused to act on grounds generally applicable to the Class, making

        appropriate both declaratory and injunctive relief with respect to the Class as a whole.

46.     Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because fact

        and legal questions common to Class Members predominate over questions affecting only

        individual Class Members, and because a class action is superior to other available methods

        for the fair and efficient adjudication of this litigation.

47.     Judicial economy will be served by maintaining this lawsuit as a class action in that it is

        likely to avoid the burden that would be otherwise placed upon the judicial system by the

        filing of numerous similar suits throughout the United States.

                             FIRST CAUSE OF ACTION
                    VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.
48.     Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

        allegation of the preceding paragraphs as if fully set forth herein.

49.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

        No individual shall be discriminated against on the basis of disability in the full and equal
        enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
        any place of public accommodation by any person who owns, leases (or leases to), or
        operates a place of public accommodation.

42 U.S.C. § 12182(a).




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50.     Defendant’s Website is a public accommodations within the definition of Title III of the

        ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the general public,

        and as such, must be equally accessible to all potential consumers.

51.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

        individuals with disabilities the opportunity to participate in or benefit from the products,

        services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

        12182(b)(1)(A)(i).

52.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

        individuals with disabilities an opportunity to participate in or benefit from the products,

        services, facilities, privileges, advantages, or accommodation, which is equal to the

        opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

53.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

        among other things:

        [A] failure to make reasonable modifications in policies, practices, or procedures, when
        such modifications are necessary to afford such goods, services, facilities, privileges,
        advantages, or accommodations to individuals with disabilities, unless the entity can
        demonstrate that making such modifications would fundamentally alter the nature of such
        goods, services, facilities, privileges, advantages or accommodations; and a failure to take
        such steps as may be necessary to ensure that no individual with a disability is excluded,
        denied services, segregated or otherwise treated differently than other individuals because
        of the absence of auxiliary aids and services, unless the entity can demonstrate that taking
        such steps would fundamentally alter the nature of the good, service, facility, privilege,
        advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

54.     The acts alleged herein constitute violations of Title III of the ADA, and the regulations

        promulgated thereunder. Plaintiff, who is a member of a protected class of persons under

        the ADA, has a physical disability that substantially limits the major life activity of sight

        within the meaning of 42 U.S.C. § 12102(1)(A)-(2)(A). Furthermore, Plaintiff has been



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        denied full and equal access to the Website, has not been provided services that are

        provided to other patrons who are not disabled, and has not been provided any reasonable

        accommodation to those services. Defendant has failed to take any prompt and equitable

        steps to remedy its discriminatory conduct. These violations are ongoing.

55.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

        incorporated therein, Plaintiff, requests relief as set forth below.

                                 SECOND CAUSE OF ACTION
                                   DECLARATORY RELIEF
56.     Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

        allegation of the preceding paragraphs as if fully set forth herein.

57.     An actual controversy has arisen and now exists between the parties in that Plaintiff

        contends, and is informed and believes that Defendant denies, that its Website contains

        access barriers denying blind customers the full and equal access to the products, services

        and facilities of its Website, which Defendant owns, operations and controls, fails to

        comply with applicable laws including, but not limited to, Title III of the Americans with

        Disabilities Act, 42 U.S.C. § 12182, et seq. prohibiting discrimination against the blind.

58.     A judicial declaration is necessary and appropriate at this time in order that each of the

        parties may know their respective rights and duties and act accordingly.

                                     PRAYER FOR RELIEF
        WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

59.     A Declaratory Judgment that at the commencement of this action BIJORA was in violation

        of the specific requirements of Title III of the ADA described above, and the relevant

        implementing regulations of the ADA, in that BIJORA took no action that was reasonably




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        calculated to ensure that its Website is fully accessible to, and independently usable by,

        individuals with visual disabilities;

60.     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504(a) which

        directs Defendant to take all steps necessary to bring its Website into full compliance with

        the requirements set forth in the ADA, and its implementing regulations, so that its Website

        is fully accessible to, and independently usable by, blind individuals, and which further

        directs that the Court shall retain jurisdiction for a period to be determined to ensure that

        Defendant has adopted and is following an institutional policy that will in fact cause it to

        remain fully in compliance with the law—the specific injunctive relief requested by

        Plaintiff is described more fully in paragraph 8 above;

61.     An award of costs and expenses of this action;

62.     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §

        36.505, including costs of monitoring Defendant’s compliance with the judgment (see

        Hadix v. Johnson, 143 F.3d 246 (6th Cir. 1998), aff'd in part, rev'd in part, 527 U.S. 343

        (1999); Jenkins v. Missouri, 127 F.3d 709 (8th Cir. 1997); Walker v. U.S. Dep't of Hous.

        & Urban Dev., 99 F.3d 761 (5th Cir. 1996); Stewart v. Gates, 987 F.2d 1450, 1452 (9th

        Cir. 1993) (district court should permit compensation for the post judgment monitoring

        efforts by the plaintiff’s counsel that are “useful and necessary to ensure compliance with

        the court's orders”); Garrity v. Sununu, 752 F.2d 727, 738-39 (1st Cir. 1984); Adams v.

        Mathis, 752 F.2d 553 (11th Cir. 1985); Willie M. v. Hunt, 732 F.2d 383, 385, 387 (4th Cir.

        1984); Bond v. Stanton, 630 F.2d 1231, 1233-34 (7th Cir. 1980); Northcross v. Board of

        Educ., 611 F.2d 624, 637 (6th Cir. 1979) (“Services devoted to reasonable monitoring of

        the court's decrees, both to ensure full compliance and to ensure that the plan is indeed




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        working…are essential to the long-term success of the plaintiff's suit.”) (citing 3rd Circuit’s

        support for District Court’s award of prospective fees to plaintiff’s counsel);

63.     Any prevailing plaintiff that enforces the ADA can utilize its fee shifting statute. 42 USC

        § 12205. Congress intended it to parallel the Civil Rights Attorney’s Fees Awards Act. 42

        USC § 1988; H.R. REP. 101-485, 73. Given this intention, precedent from this Circuit and

        the United States Supreme Court make it clear that plaintiffs should “ordinarily recover an

        attorney’s fee unless special circumstances would render such an award unjust.” Dawson

        v. Pastrick, 600 F.2d 70, 79 (7th Cir. 1979) quoting Newman v. Piggie Park Enterprises,

        Inc., 390 U.S. 400, 402, 88 S.Ct. 964, 966, 19 L.Ed.2d 1263 (1968).

64.     Specifically, 42 USC § 12205 provides that Courts have the discretion to award attorney’s

        fees, litigation expenses, and costs for the prevailing party in any action under the ADA.

        The ADA’s legislative history solidifies that under 42 USC § 12205 Congress “intends that

        the attorney's fee provision be interpreted in a manner consistent with the Civil Rights

        Attorney's Fees Act, including that statute's definition of prevailing party, as construed by

        the Supreme Court.” H.R. REP. 101-485, 73. The language of the ADA fee shifting

        provision parallels the Civil Rights Attorney's Fees Awards Act, which provides “the court,

        in its discretion, may allow the prevailing party, other than the United States, a reasonable

        attorney’s fee.” 42 U.S.C. § 1988(b). The Court’s discretion under these fee shifting

        provisions to deliver an award of attorney’s fees departs from its typical, broad form.

        65.     While reversing a District Court decision that refused attorney’s fees, the 7th Circuit

determined with respect to the Civil Rights Attorney’s Fees Awards Act that:

        “[T]he [legislative history] of the provision makes it clear that the trial court’s
        discretion is narrow . . . a party seeking to enforce the rights protected by the statutes
        . . . if successful, ‘should ordinarily recover an attorney’s fee unless special
        circumstances would render such an award unjust.’”



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Dawson, 600 F.2d at 79 quoting Newman, 390 U.S. at 402. “Thus, ‘a prevailing plaintiff should

receive fees (under the Act) almost as a matter of course.’” Bond v. Stanton, 630 F.2d 1231, 1233

(7th Cir. 1980) quoting Davis v. Murphy, 587 F.2d 362, 364 (7th Cir. 1978) and Dawson, 600 F.2d

at 79. “The Supreme Court has previously recognized that Congressional policy favors private

enforcement of civil rights acts and mandates a liberal construction of attorney's fee statutes.”

Krislov v. Rednour, 97 F. Supp. 2d 862, 866–67 (N.D. Ill. 2000). The analysis with respect to the

ADA is identical because, as the Supreme Court noted in Newman:

         When a plaintiff brings an action . . . he cannot recover damages. If he obtains an
         injunction, he does so not for himself alone but also as a ‘private attorney general,’
         vindicating a policy that Congress considered of the highest priority. If successful
         plaintiffs were routinely forced to bear their own attorneys' fees, few aggrieved
         parties would be in a position to advance the public interest by invoking the
         injunctive powers of the federal courts. Congress therefore enacted the provision
         for counsel fees—not simply to penalize litigants who deliberately advance
         arguments they know to be untenable but, more broadly, to encourage individuals
         injured by . . . discrimination to seek judicial relief . . . .

390 U.S. at 402. Wander v. Kaus, 304 F.3d 856, 858 (9th Cir. 2002) (stating injunctive relief

only remedy available to individual plaintiff under ADA).

66.      An order certifying the Class under Fed. R. Civ. P. 23(a) & (b)(2) and/or (b)(3), appointing

         Plaintiff as Class Representative, and his attorneys as Class Counsel; and

67.      Such other and further relief as this Court deems just and proper.

Dated:      Chicago, Illinois
            December 18, 2019
                                                        KRAMER INJURY LAW LLC
                                                        By: /s/ R. Joseph Kramer
                                                        R. Joseph Kramer, Esq.
                                                        Joe@rjklawyer.com
                                                        225 W. Washington Street, Suite 2200
                                                        Chicago, IL 60606
                                                        Tel: (312) 775-1012
                                                        Fax: (312) 626-2408
                                                        ATTORNEYS FOR PLAINTIFF


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